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                             SOUTHERN DISTRICT OF CALIFORNIA
    17
         Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
    18

    19                      Plaintiffs,               JOINT RESPONSE TO DOCKET
                                                      ENTRY 565
    20            v.
    21   Chad F. Wolf,1 et al.,
    22
                            Defendants.
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          Acting Secretary Wolf is automatically substituted for former Acting Secretary
    28   McAleenan pursuant to Fed. R. Civ. P. 25(d).
                                                            JOINT RESPONSE TO DOCKET ENTRY 565
Case 3:17-cv-02366-BAS-KSC Document 566 Filed 09/30/20 PageID.52798 Page 2 of 5


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                                                       JOINT RESPONSE TO DOCKET ENTRY 565
Case 3:17-cv-02366-BAS-KSC Document 566 Filed 09/30/20 PageID.52799 Page 3 of 5


     1                             Response to Docket Entry 565
     2         The parties hereby jointly file this response to the Court’s September 29, 2020
     3   Order (Dkt. 565). The parties apologize that the positions in their prior briefing were
     4   unclear. We thank the Court for giving us this opportunity to clarify matters.
     5   Plaintiffs’ Position
     6         The documents at issue in the June 2020 clawback dispute are Document K
     7   and copies of it (i.e., Documents C, G, and O).
     8   Defendants’ Position
     9         Of the documents listed on pages 1-4 of the Parties’ Joint Motion for
    10   Determination of Discovery Dispute concerning the June 2020 Clawback (Doc. No.
    11   524), Defendants agree that the parties have narrowed their dispute to Documents C,
    12   G, K, and O, which are all copies of the same November 2016 Draft Metering
    13   Guidance. Although Plaintiffs challenge the privilege assertions over only
    14   Documents C, G, K, and O, Defendants note for context that each of those
    15   documents is part of a larger email family: Document C is part of an email family
    16   that includes Documents A, B, and D. Document G is part of an email family that
    17   includes Documents E, F, and H. Document K is part of an email family that includes
    18   Documents I, J, and L. And Document O is part of an email family that includes M,
    19   N, and P.
    20   Dated: September 30, 2020
    21                                               MAYER BROWN LLP
    22                                                 Matthew H. Marmolejo
                                                       Ori Lev
    23                                                 Stephen M. Medlock
    24
                                                     SOUTHERN POVERTY LAW
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    26                                                 Sarah Rich
    27                                                 Rebecca Cassler

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                                                              JOINT RESPONSE TO DOCKET ENTRY 565
Case 3:17-cv-02366-BAS-KSC Document 566 Filed 09/30/20 PageID.52800 Page 4 of 5


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                                                      JOINT RESPONSE TO DOCKET ENTRY 565
Case 3:17-cv-02366-BAS-KSC Document 566 Filed 09/30/20 PageID.52801 Page 5 of 5


     1                           CERTIFICATE OF SERVICE
     2        I certify that I caused a copy of the foregoing document to be served on all
     3   counsel via the Court’s CM/ECF system.
     4   Dated: September 30, 2020                   MAYER BROWN LLP
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     6                                               By /s/ Stephen M. Medlock
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                                                          JOINT RESPONSE TO DOCKET ENTRY 565
